                                                                                      NORTH CAROLINA WESTERN
                                                                                               MEMORANDUM
      Date: July 3, 2013

        To: The Honorable Frank D. Whitney
            Chief U.S. District Court Judge

     From: Clifton E. Johnson, II
           U.S. Probation Officer

   Subject: Shawn Christopher Moore
            3:95CR0005-011
            Travel Request


This is in reference to the above-named offender, who was charged with Conspiracy to Violate Narcotic Laws
(crack) in violation of 21 U.S.C. 846. He appeared before the Honorable William L. Osteen, U.S. District Court
Judge on November 2, 1995, sentenced to 200 months imprisonment followed by 10 years supervised release.
Supervision commenced on November 5, 2008.

Since his release, Mr. Moore has performed satisfactorily while under supervision. He is currently paying
towards his Court Appointed Counsel Fees with a remaining balance of $1115.50 toward Court Appointed
Counsel fees. Mr. Moore has also maintained gainful employment along with a stable residence.

At this time, Mr. Moore and his wife are requesting to take a Carnival Cruise, sailing Cozumel, Mexico. They
are scheduled to depart on July 8, 2013 returning on July 12, 2013. It is recommended that the offender be
allowed to travel. Should Your Honor have any questions, please contact me at (704) 350-7681.



[ x } Permission to Travel Approved
                                                   Signed: July 3, 2013
[ ] Permission to Travel Denied

[ ] Other

____________________

Date: July 3, 2013



              Case 3:95-cr-00005-FDW         Document 931            Filed 07/08/13   Page 1 of 1
